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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HoUsToN DIvIsIoN
wILLlAM MARKS, §
Plaimifr, §
§

v. § cASE No. 4=18-cv-3522
§

HARTFORD INSURANCE CoMPANY § JURY TRIAL DEMANDED
oF THE MIDWEST, §
Defendant. §

ORIGINAL COMPLAINT AND JURY DEMAND
To THE HoNoRABLE UNITED STATES DISTRICT COURT JUDGE:

l. COMES NOW, the Plaintiff, William Marks (“Marks”), and files this Original
Complaint and Jury Demand complaining of and against Defendant, Hartf`ord Insurance Company of
the Midwest (“Hartford”), and in support hereof would respectfully show unto the Court the
following:

JURISDICTION AND VENUE

2. This action arises under the National Flood Insurance Act, 42 U.S.C. §4001, et. seq.,
pursuant to the insurance contract issued to the Plaintiff. This action, having arisen under an
applicable federal statute, namely 42 U.S.C. §4072, requires the application of federal law pursuant
to the general federal jurisdiction provisions of 28 U.S.C. §1331.

3. Venue is properly in this District pursuant to 42 U.S.C. §4053 and/or §4072 in that
the insured property made the basis of this action is located at 5714 Darling St., Houston, Harris

County, Texas 77007 and situated within this District.

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PART[ES

4. Plaintiff, William Marks (“Marks”), is an individual resident of Houston, Harris
County, 'I`exas. Service of process is neither requested, nor necessary at this time.

5. Defendant, Hartford Insurance Company of the Midwest (“Hartford”), is an admitted
foreign insurance company organized in Indiana and participating in FEMA’s “Wn'te Your Own”
(WYO) program. Hartford maintains its principle place of business at One Hartford Plaza '1` 17 81,
Hartford, CT 06155. Hartford conducts the business of insurance for profit in a systematic and
continuous manner in the state of Texas. Hartford issued a Standard Flood Insurance Policy (“SFIP”)
in its own name, as fiscal agent of the United States, to the Plaintiff. Pursuant to 44 C.F.R. §62.23(d)
and (i)(t), Hartford is responsible for arranging the adjustment, settlement, payment and defense of
all claims arising under the Policy. Accordingly, Hartford may be served with notice of this suit, by
serving Summons and a true and correct copy of the Complaint attached thereto upon CT
Corporation System, its designated agent for service of process at its registered address, 1999 Bryan
Street, Suite 900, Dallas, Dallas County, 'I`exas 75201-3116.

FACTUAL BACKGROUND

6. In this Complaint whenever it is alleged that the Defendant did any act or thing, it is
meant that the Defendant’s officers, agents, servants, employees, attomeys, or representatives did
such act or thing and that at the time such act or thing was done, it was done with the full, expressed,
implied or apparent authorization or ratification of the Defendant or was done in the normal and
routine course and scope of employment of the Defendant’s officers, agents, servants, employees,

attorneys or representatives

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7. By this lawsuit, Marks seeks to recover losses sustained as a result of Hurricane
Harvey flood damage to the building structure and contents on his property located at 5714 Darling
St., Houston, Harris County, Texas 77007 (the “Property”).

8. Hartford sold a flood insurance policy bearing Policy No. 87043325552016 (the
“Policy”) to Marks whereby Hartford agreed to pay Marks for any direct physical loss to the insured
Property caused by or from a “flood” as defined by the Policy in exchange for the payment of
premiums. In lieu of attaching the Policy hereto, Marks incorporates by reference, for all purposes,
the provisions of the SFIP, as set forth in 44 C.F.R. §61, Appendix A (1), which is the policy issued
by Hartford to Marks. The Policy term extended from October 30, 2016 through October 30, 2017.
The Policy limits were $48,700.00 for buildings and $35,300.00 for contents.

9. On or about August 25, 2017, flood water damaged the building structure and
contents located on the Property. As a direct and proximate result of the flooding, Marks suffered a
direct physical loss to the insured Property. The damage to the building structure and contents
located therein is covered under the Policy and occurred within the applicable Policy term.

10. After the flood, Marks timely notified Hartford of the loss, filed an insurance claim
with Hartford, and asked Hartford to adjust the claim and pay for the cost of repairs to the Property.

l l. On October 5, 2017, Hartford denied Marks’ claim without making any payment after
mistakenly assuming that Marks had withdrawn his flood claim.

12. On August 24, 2017, Marks timely filed his sworn proof of loss claiming a total of
$84,000.00 for flood damages to the building and contents located on the Property. Hartford has
reopened Marks claim and started adjusting the loss, but out of an abundance of caution, Marks has

filed this lawsuit to preserve his rights under the Policy.

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CAUSES OF ACTION

13. Marks repeats and incorporates, by reference, the allegations of paragraphs 1 through
12 above and paragraphs 17 and through 21 below, as if fully set forth herein,

14. Marks alleges that in all of the conduct complained of herein, all employees, servants,
agents and representatives of Hartford had actual, implied, or apparent authority to act on behalf of
Hartford.

15. Marks further alleges that all conditions precedent to recovery herein have been
performed or have occurred.

16. Without waiving the foregoing, but strictly relying upon the same, Marks alleges that
the actions and conduct of Hartford constitute a breach of contract Marks purchased insurance from
Hartford. The insurance contract provides insurance coverage for the Property against loss from
among other things: flood. Marks paid all premiums for the Policy, timely reported the loss to
Hartford, and requested adjustment ofhis claim. Despite full compliance with the Policy conditions,
Hartford has failed and refused and continues to fail and refuse to pay the full amount due under the
Policy for Marks’ claim. As a result, Hartford has breached the contract of insurance and as a direct
and proximate consequence of Hartford’s breach of contract, Marks has suffered actual, incidental,
special, and consequential damages as set forth hereinbelow.

DAMAGES

17. As a result of the actions and conduct complained of herein, Marks is entitled to the
recovery of all actual, incidental, special, and consequential damages sustained in an amount that
exceeds the minimum jurisdictional limits of this court. These damages include, but are not limited

to: damages to the building and contents located on the Property in the amount of $84,000.00.

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18. Marks is iilrther entitled to the recovery of pre-j udgment and post-judgment interest
herein at the maximum amount allowed by the common and statutory laws of the State of Texas.

19. Marks is further entitled to the recovery of costs of court

DEMAND FOR JURY TRIAL

20. Pursuant to Rule 38 FED. R. ClV. P., Marks demands a jury trial on all issues triable

by a jury.
PRAYER

21 . WHEREFORE, PREMlsEs CoNSIDERED, Plaintiff, William Marks (“Marks”), prays that
the Defendant, Hartford Insurance Company of the Midwest (“Hartford”) be summoned to appear
and answer herein, and that upon full and final trial herein, Marks recover from Hartford all actual,
incidental, special, and consequential damages sustained as the result of the actions of Hartford and
along with costs of court, pre-judgment and post-judgment interest, and such other and further relief,
whether general or special, at law and in equity, to which Plaintiff, William Marks, may show
himself justly entitled by this pleading or proper amendment hereto.

Respectfully submitted,

M

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